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                                                                             FILED
                                                                  John E. Triplett, Acting Clerk
                                                                   United States District Court

                                                              By MGarcia at 9:37 am, Jun 29, 2020
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